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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF DELAWARE




IN RE GOOGLE INC. COOKIE                           )
PLACEMENT CONSUMER PRIVACY                         )
LITIGATION                                         )
                                                   )       Case No. 12-MD-2358-ER
                                                   )
This Document Relates to:                          )
All Actions                                        )


   DECLARATION OF JAMES P. FRICKLETON IN SUPPORT OF MOTION FOR
          FINAL APPROVAL OF CLASS ACTION SETTLEMENT



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Executive Committee Member
       I, James P. Frickleton, having first been duly sworn, declare:

       1. I am a partner in the law firm of Bartimus, Frickleton, Robertson & Rader, P.C., one of

the lead counsel appointed by the Court in this MDL and a member of the Executive Committee

in this case. This declaration is based on my own personal knowledge and, if called to testify, I

could and would competently testify hereto under oath.

       2. This declaration in submitted in support of Plaintiffs’ Motion for Final Approval of

Class Action Settlement with Defendant Google Inc. (“Google”) on behalf of class

representatives Jose M. Bermudez, Nicholas Todd Heinrich, and Lynne Krause.

       3. As previously detailed to the Court in past Declarations, after discussions with

Google’s counsel that spanned several months, the parties held a mediation in this case on May

9, 2016 before retired federal Judge Layne Phillips. During the mediation, the parties agreed to

the basic terms of the settlement. The settlement was reached following arms-length negotiations

considering the history of the case, the liability and damage potential, and the risks of future

litigation. Prior to reaching a settlement, I along with other members of the Executive Committee

made a thorough investigation of the facts and circumstances relevant to this litigation.

       4. After this case was heard by the 3rd Circuit Court of Appeals it was remanded and the

parties had further negotiations which resulted in a modification of the settlement agreement

which has now been executed and presented to the Court along with the Motion for Preliminary

Approval of this settlement. The Court issued its Order preliminarily approving the settlement on

October 15, 2021. (D.I. 203.)

       5. To date, neither I nor my office have received any notices of opt-outs or

objections to the settlement other than those officially filed with the Court.

       6. Given the size of the potential class and the issues involved, the parties believe
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that the distribution of the Settlement Fund to cy pres recipients who must agree to use the

funds to promote public awareness and education and/or support research, development, and

initiatives related to the security and/or privacy of Internet browsers is the best use of the

settlement proceeds.

       7. In addition, Google will provide Class Counsel with assurances that it implemented

systems configured to instruct Safari brand web browsers to expire any cookie placed from the

Doubleclick.net domain by Google if those systems encountered such a cookie, with the

exception of the Doubleclick opt-out cookie, until the time that all cookies placed from the

Doubleclick.net domain by Google on Safari brand web browsers through February 15, 2012

should have expired by design.

       8. Although Plaintiffs’ counsel intended to present strong evidence that Google’s

cookie circumvention technique violated California common law and constitutional principles,

that this case should be certified as a class action, and that such class should be entitled to

damages, we understand that Google will be prepared to mount a vigorous defense on these

issues. Given the risks and uncertainties of litigation, Class Counsel believe that this settlement

with Google provides meaningful benefits to the class and is reasonable. Class Counsel have

considered the fact that Google has already made a substantial payment of approximately

$39,500,000.00 to the Federal Trade Commission and various state governments arising under

the same conduct alleged by Plaintiffs.

       9. On November 16, 2012, this Court appointed my firm as one of the lead counsel

in this MDL pursuant to Rule 23(g)(3) of the Federal Rules of Civil Procedure. In doing so, the

Court noted our firm’s “experience in large class actions and with substantial privacy rights

litigation,” our “impressive credentials and the underlying qualifications to serve as lead
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counsel,” and we have served as co-lead counsel in this case since that time.

         10. The Court’s file reflects the experience in complex civil and class action litigation

that gave rise to my firm’s appointment as co-lead counsel in this case and I will not repeat it

here. However, that experience leads me to conclude that this proposed settlement is fair and

reasonable should be finally approved.

         I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed this 8th day of August, 2022, at Leawood, Kansas,

66211.

                                                       /s/ James P. Frickleton
